Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page11of
                                                            of68
                                                               7 PageID
                                                                 PageID764
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


ABDULLAH RABBAT,
                                          CASE NO.: 6:17-cv-278-Orl-28KRS
              Plaintiff,

vs.

COVINGTON SPECIALTY INSURANCE
COMPANY,

           Defendant.
________________________________/

COVINGTON SPECIALTY INSURANCE
COMPANY,

              Third Party Plaintiff,

vs.

JERRY DEMINGS, IN HIS OFFICIAL
CAPACITY AS SHERIFF OF ORANGE
COUNTY, FLORIDA,

           Third Party Defendant.
______________________________/

  DEFENDANT’S AMENDED THIRD PARTY COMPLAINT IN THE ALTERNATIVE
   AGAINST JERRY DEMINGS, IN HIS OFFICIAL CAPACITY AS SHERIFF OF
                    ORANGE COUNTY, FLORIDA

       Defendant, COVINGTON SPECIALTY INSURANCE COMPANY (“Covington”),

by and through undersigned counsel and pursuant to Rules 14 and 15(a)(1)(B) of the

Federal Rules of Civil Procedure, hereby files its Amended Third Party Complaint in the

Alternative against Jerry Demings, in his Official Capacity as Sheriff of Orange County,

Florida and in support thereof states as follows:
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page22of
                                                            of68
                                                               7 PageID
                                                                 PageID765
                                                                        834



                                 GENERAL AVERMENTS

       1.     This is an action for damages in excess of Seventy Five Thousand Dollars

($75,000.00) exclusive of interest, costs, and attorney’s fees that is within diversity

jurisdiction of the Court.

       2.     Plaintiff, Abdullah Rabbat, is a citizen of the State of Florida and the owner

of certain commercial property located at 5151 South Orange Blossom Trail, Orlando,

Florida 32839 (the “subject property”).

       3.     Covington is a citizen of the State of New Hampshire and the State of

Georgia as it is incorporated in New Hampshire and its principal place of business is in

Georgia. Covington is licensed to conduct surplus lines insurance business in the State

of Florida.

       4.     Jerry Demings, in his Official Capacity as Sheriff of Orange County,

Florida (the “Sheriff”), is a duly elected constitutional officer under Article VIII, Section

1(d) of the Florida Constitution who is responsible for the neglect of his deputies. For

the purposes of this lawsuit, the Sheriff is a citizen of the State of Florida.

       5.     Covington issued policy number VBA231663-00 (the “subject insurance

contract”) to Rabbat for the policy period of July 3, 2013 to July 3, 2014 in regards to the

subject property.

       6.     On or about February 15, 2014, the Sheriff responded to reported

gunshots on or near the subject property. Please see Exhibit “A,” Incident Report #14-

14145 written by Sheriff’s Deputy Armando Sarabia.

       7.     The Sheriff’s deputies subsequently observed bullet holes in a front door

located on the north end of the subject property.
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page33of
                                                            of68
                                                               7 PageID
                                                                 PageID766
                                                                        835



       8.     The Sheriff’s deputies then cleared and secured both the outside and

inside of the subject property.

       9.     In order to secure the inside of the subject property, the Sheriff’s deputies

breached several doors and caused other property damage.

       10.    According to the Incident Report, Exhibit “A,” the damages included:

“The front door, the north side door, the east side roll up door, the east side bathrooms

(male/female) door, and the rear door to suite #1 were damaged by the SWAT teams as

they breached the different parts of the building.”

       11.    Johns Eastern Company, on behalf of the Sheriff and Orange County,

estimated the resulting damages to the subject property to be $10,101.42 at

replacement cost. The estimate and photographs from Johns Eastern Company are

attached as Exhibit “B.”

       12.    Mr. Rabbat submitted his narrative of the events that took place on or

about February 15, 2014. His Incident Narrative is attached as Exhibit “C.”

       13.    On June 6, 2014, a civil rights attorney, Thania Diaz Clevenger, wrote to

the Sheriff on Mr. Rabbat’s behalf regarding the damages.         Ms. Clevenger’s letter,

which is attached as Exhibit “D,” contains many of the same allegations found within

Mr. Rabbat’s Incident Narrative. Ms. Clevenger described the Sheriff’s deputies’ actions

as “unwarranted” and that such violated Mr. Rabbat’s constitutional rights.

       14.    Mr. Rabbat placed Covington on notice of the subject damages caused by

the Sheriff’s deputies on December 7, 2015.
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page44of
                                                            of68
                                                               7 PageID
                                                                 PageID767
                                                                        836



       15.     During Covington’s claim investigation, Mr. Rabbat hired a public adjuster,

Steven Musgrave, who ultimately submitted an estimate of property damage totaling

$408,346.63. This estimate is attached to the subject complaint.

       16.     On or about January 23, 2017, Mr. Rabbat filed suit against Covington.

Plaintiff’s Complaint [D.E. 2] contains one count for breach of insurance contract for the

failure to pay for the property damages caused by the Sheriff’s deputies.

       17.     Covington disputes that there is coverage under the subject insurance

contract.    Specifically, Covington asserts that the claimed damage is excluded as

Governmental Action pursuant to the following policy language:

       B.      Exclusions

               1.    We will not pay for loss or damage caused directly or indirectly by
                     any of the following. Such loss or damage is excluded regardless
                     of any other cause or event that contributes concurrently or in any
                     sequence to the loss.

                                       ***
                     c.     Governmental Action

                     Seizure or destruction of property by order of governmental
                     authority.

                     But we will pay for loss or damage caused by or resulting from
                     acts of destruction ordered by governmental authority and taken at
                     the time of a fire to prevent its spread, if the fire would be covered
                     under this Coverage Part.

                                             ***

CP 10 30 06 07, Page 1 of 10.

       18.     Covington maintains all other Affirmative Defenses as stated within its

Answer, Affirmative Defenses, and Request for Jury Trial [D.E. 30] and restated above.
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page55of
                                                            of68
                                                               7 PageID
                                                                 PageID768
                                                                        837



       19.    However, the subject insurance contract provides Covington the right to

subrogation against an at-fault party should there be a covered loss pursuant to the

following language:

                         COMMERCIAL PROPERTY CONDITIONS

       This Coverage Part is subject to the following conditions, the Common Policy
       Conditions and applicable Loss Conditions and Additional Conditions in
       Commercial Property Coverage Forms.

                                     ***
       I.     TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

       If any person or organization to or from whom we make payment under this
       Coverage Part has rights to recover damages from another, those rights are
       transferred to us to the extent of our payment. That person or organization must
       do everything necessary to secure our rights and must do nothing after loss to
       impair them.

                                             ***
CP 00 90 07 88, Page 2 of 2.

       20.    It is Mr. Rabbat’s position pursuant to his Incident Narrative that the

Sheriff’s deputies caused the subject damage. If Mr. Rabbat suffered a covered loss,

his rights to recover the damages from the Sheriff are transferred to Covington.

       21.    Therefore, while Covington asserts that Mr. Rabbat’s alleged damages are

not covered and/or excluded pursuant to the terms and conditions of the insurance

contract, Covington asserts its subrogation rights against the Sheriff in the alternative.

       22.    All conditions precedent have occurred, have been met, or have been

waived.

COUNT I – NEGLIGENCE AGAINST JERRY DEMINGS, IN HIS OFFICIAL CAPACITY
               AS SHERIFF OF ORANGE COUNTY, FLORIDA

       23.    Covington incorporates allegations contained in paragraphs one (1)

through twenty-two (22) as if fully set forth herein.
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page66of
                                                            of68
                                                               7 PageID
                                                                 PageID769
                                                                        838



        24.   The Sheriff owed a duty of reasonable care to Mr. Rabbat in the

performance of its law enforcement duties.

        25.   If Mr. Rabbat’s allegations found within his Incident Narrative, Exhibit

“C,” are correct, the Sheriff breached his duty of reasonable care to Mr. Rabbat by

failing to conduct its law enforcement activities in a reasonable manner.

        26.   The Sheriff’s negligence and breach of its duty of reasonable care was the

proximate cause of the damages to the subject property if Mr. Rabbat’s allegations are

true.

        WHEREFORE, Defendant, COVINGTON SPECIALTY INSURANCE COMPANY,

respectfully requests that if Mr. Rabbat’s allegations are true and Mr. Rabbat suffered a

covered loss that is not excluded or limited by the terms and conditions of the insurance

contract, for this Court to enter a judgment against Jerry Demings, in his Official

Capacity as Sheriff of Orange County, Florida for the damages incurred to the subject

property, plus interest, costs, and any and all further relief that this Court deems proper

and just. Defendant demands a jury trial on all issues so triable as a matter of right.
Case
Case6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document46
                                   44 Filed
                                      Filed10/23/17
                                            10/23/17 Page
                                                     Page77of
                                                            of68
                                                               7 PageID
                                                                 PageID770
                                                                        839




                                          Respectfully submitted,

                                          BUTLER WEIHMULLER KATZ CRAIG LLP




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                                          Tampa, Florida 33602
                                          Telephone: (813) 281-1900
                                          Facsimile: (813) 281-0900
                                          Attorneys for Defendant


                             CERTIFICATE OF SERVICE

      I certify that a copy hereof has been furnished to:

             Asher Perlin, Esq.
             Yemil Aragon, Esq.
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             Ian D. Forsythe, Esq.
             Hilyard, Bogan & Palmer, P.A.
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             Orlando, FL 32802-4973

by CM/ECF on October 23, 2017.




                                     CHRISTOPHER M. RAMEY, ESQ.
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Case 6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document 44-1
                                   46 Filed
                                        Filed10/23/17
                                              10/23/17 Page
                                                        Page8 1ofof682 PageID
                                                                       PageID 840
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                                      A
Case
Case 6:17-cv-00278-JA-KRS
     6:17-cv-00278-JA-KRS Document
                          Document 44-1
                                   46 Filed
                                        Filed10/23/17
                                              10/23/17 Page
                                                        Page9 2ofof682 PageID
                                                                       PageID 841
                                                                              772
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page101 of
                                                   of




                       B
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page112 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page123 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page134 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page145 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page156 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page167 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page178 of
                                                   of
00278-JA-KRS
 0278-JA-KRS Document
             Document 44-2
                      46 Filed
                           Filed10/23/17
                                 10/23/17 Page
                                           Page189 of
                                                   of
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page19
                                               10ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page20
                                               11ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page21
                                               12ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page22
                                               13ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page23
                                               14ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page24
                                               15ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page25
                                               16ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page26
                                               17ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page27
                                               18ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page28
                                               19ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page29
                                               20ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page30
                                               21ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page31
                                               22ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page32
                                               23ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page33
                                               24ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page34
                                               25ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page35
                                               26ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page36
                                               27ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page37
                                               28ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page38
                                               29ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page39
                                               30ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page40
                                               31ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page41
                                               32ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page42
                                               33ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page43
                                               34ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page44
                                               35ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page45
                                               36ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page46
                                               37ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page47
                                               38ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page48
                                               39ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page49
                                               40ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page50
                                               41ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page51
                                               42ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page52
                                               43ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page53
                                               44ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page54
                                               45ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page55
                                               46ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page56
                                               47ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page57
                                               48ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page58
                                               49ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page59
                                               50ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page60
                                               51ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page61
                                               52ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page62
                                               53ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page63
                                               54ofof
00278-JA-KRS
0278-JA-KRS Document
             Document44-2
                      46 Filed
                          Filed10/23/17
                                10/23/17 Page
                                          Page64
                                               55ofof
6:17-cv-00278-JA-KRS
:17-cv-00278-JA-KRS Document
                     Document44-2
                              46 Filed
                                  Filed10/23/17
                                        10/23/17 Page
                                                  Page65
                                                       56ofof68
                                                              56PageI
                                                                 Page
00278-JA-KRS
00278-JA-KRS Document
             Document 46
                      44-3Filed
                             Filed
                                 10/23/17
                                   10/23/17Page
                                             Page
                                                661ofof




                        C
00278-JA-KRS
00278-JA-KRS Document
             Document 46
                      44-3Filed
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                                 10/23/17
                                   10/23/17Page
                                             Page
                                                672ofof




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   6:17-cv-00278-JA-KRS Document
                        Document 46
                                 44-4Filed
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                                            10/23/17
                                              10/23/17Page
                                                        Page
                                                           681ofof68
                                                                   1 PageID
                                                                     PageID 8




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